                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )       No. 3-09-00262
v.                                           )
                                             )
DARYL BORNSTEIN                              )




                                           ORDER

      A hearing on the defendant's motion to revoke pretrial release and place defendant in pretrial

custody (Docket Entry No. 106) is scheduled on Friday, February 8, 2013, at 12:30 p.m., in

Courtroom 764, U.S. Courthouse, 801 Broadway, Nashville, TN.

      It is so ORDERED.




                                             JULIET GRIFFIN
                                             United States Magistrate Judge




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